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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

 UNITED STATES OF AMERICA,                 )
                                           )
                      Plaintiff,           )
               v.                          )         Cause No. 2:15-cr-72
                                           )
 RODOLFO CARLOS FLORES a/k/a               )
 “BIG HEAD,”                               )
                                           )
                      Defendant.           )

                                          ORDER

        This matter is before me on the Findings and Recommendation of Magistrate

 Judge Paul R. Cherry relating to defendant Rodolfo Carlos Flores’ request to enter a

 plea of guilty to Count 1 of the Superseding Indictment, pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure. (DE 20.) Following a hearing on the record on

 April 27, 2016 (DE 190), Judge Cherry found that Flores understands the nature of the

 charge, his rights, and the maximum penalties; that Flores is competent to plead guilty;

 that there is a factual basis for Flores’ guilty plea; and that Flores knowingly and

 voluntarily entered into his agreement to enter a plea of guilty. Judge Cherry

 recommends that I accept Flores’ plea of guilty and proceed to sentencing. Neither

 party has filed an objection to Judge Cherry’s Findings and Recommendation.

        Accordingly and having reviewed the Findings and Recommendation of the

 Magistrate Judge Upon Plea of Guilty by Defendant Rodolfo Carlos Flores (DE 192), to

 which no objection has been filed, the Court hereby ADOPTS the Findings and


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 Recommendation (DE 192) in their entirety. Defendant Rodolfo Carlos Flores is

 ADJUDGED GUILTY of Count 1 of the superseding indictment, and the sentencing

 hearing is SET for September 20, 2016, at 1:00 p.m. Hammond/Central Time.

       SO ORDERED.

       ENTERED: May 19, 2016.
                                                 s/ Philip P. Simon
                                                 CHIEF JUDGE
                                                 UNITED STATES DISTRICT COURT




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